Case 2:16-cv-00650-SPC-MRM Document 60 Filed 02/01/18 Page 1 of 2 PageID 255



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

MICHAEL BOLES,

               Plaintiff,

v.                                                  Case No: 2:16-cv-650-FtM-38MRM

HAVEN FORT MYERS, LLC,
HAVEN HOSPITALITY CONCEPTS,
LLC, EC SQUARED, LLC, CHUCK
THAKKAR, BRAD COZZA, NILOY
THAKKAR and SOLANI THAKKAR,

              Defendants.
                                          /

                                 OPINION AND ORDER1

       This matter comes before the Court on the parties’ Joint Notice of Settlement (Doc.

59), filed on January 29, 2018. Plaintiff brought this action under the Fair Labor Standards

Act for the recovery of unpaid wages and minimum wages. (Doc. 2). The parties now

inform the Court that Plaintiff Michael Boles’ claims against Defendants have been

resolved in full without compromise, with the attorney’s fees negotiated separately from

the resolution of Plaintiff’s claims. (Doc. 59 at ¶ 3). Consequently, there is no need for

the Court to review and approve the settlement for fairness. See Lynn’s Food Stores,

Inc. v. U.S. Dep’t of Labor, 679 F.2d 1350, 1352 (11th Cir. 1982).


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Case 2:16-cv-00650-SPC-MRM Document 60 Filed 02/01/18 Page 2 of 2 PageID 256



      In addition, Federal Rule of Civil Procedure 41 allows a plaintiff to dismiss an action

without a court order by “a stipulation of dismissal signed by all parties who have

appeared.” Fed. R. Civ. P. 41(a)(1)(A)(ii). Here, the parties dismiss this case with

prejudice under Rule 41(a)(1)(A)(ii) and provide the Court with a Joint Stipulation for

Dismissal signed by all parties. (Doc. 59).

      Accordingly, it is now

      ORDERED:

      1. This case is DISMISSED with prejudice.

      2. The Clerk of Court is DIRECTED to enter judgment accordingly, terminate all

          pending motions and deadlines, and close the file.

      DONE and ORDERED in Fort Myers, Florida this 1st day of February, 2018.




Copies: All Parties of Record




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